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                  UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK


IN RE ACTOS ANTITRUST
LITIGATION


                                    Master File No. 1:13-cv-09244-RA-SDA
THIS DOCUMENT RELATES TO:


                                          REDACTED VERSION
ALL ACTIONS


     PLAINTIFFS’ LETTER MOTION FOR DISCOVERY CONFERENCE
  REGARDING DOCUMENTS SUBJECT TO TAKEDA’S PRIVILEGE WAIVER
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        Plaintiffs request a discovery conference to seek an order clarifying that the scope of Takeda’s
privilege waiver encompasses all evidence relevant to its good faith regulatory compliance defense. This
includes, but is not limited to, all otherwise-privileged documents and communications showing (a)
Takeda’s reasons (all of them) for engaging in the alleged restraint, i.e., the wrongful listing of patents in
FDA’s “Orange Book” and the maintenance of those listings between 1999 and 2012, (b) Takeda’s
assessment of whether those listings and the maintenance thereof comported with ongoing statutory or
regulatory obligations between 1999 and 2012, and (c) Takeda’s consideration between 1999 and 2012
of the consequences of those improper listings, including on generic entry. Takeda cannot have its cake
and eat it, too. If Takeda wishes to carve out any of these documents from its waiver—thereby denying
Plaintiffs the opportunity to test its good faith compliance defense—Takeda should be precluded from
asserting the defense at trial. Plaintiffs further request that the Court compel Takeda to produce, by
September 23rd, all documents subject to the waiver, including the categories highlighted below. A
proposed order is attached hereto as Exhibit H.
                                                Background
        This antitrust action concerns Takeda’s scheme to delay generic competition for its drug Actos
(pioglitazone). In 1999 and 2002, Takeda falsely described two patents (the ’584 and ’404) as claiming
Actos in submissions to FDA. Takeda reaffirmed those descriptions for over a decade, forcing generic
competitors to address the patents in their FDA applications using Paragraph IV certifications instead
of section viii statements. These certifications triggered regulatory barriers that delayed generic entry
for two years beyond January 2011, when Takeda’s patent that lawfully claimed Actos (the ’777) expired.
        The Second Circuit has held that Takeda’s patent characterizations were wrong.1 As an
affirmative defense, Takeda asserts that it acted in “good faith” to comply with regulatory mandates.2
This defense entails an objective element (“reasonableness”) and a subjective one (good faith belief).3 On
April 22, 2022, Takeda informed Plaintiffs it would rely on privileged documents to support the defense.
Ex. A at 1. Takeda later produced a tranche of documents subject to the waiver, many of which were
redacted. On May 6 and May 20, Takeda produced defective categorical privilege logs covering 10,501
documents. Ex. B. Many categories included hundreds or even thousands of documents, with date ranges
spanning 10 years or more, and pertained to topics relevant to Takeda’s beliefs about its alleged
misconduct. Ex. A at 3-6. Takeda later produced a partial metadata log (which included information such
as dates, e-mail subject lines, document titles, and to/from/cc fields) containing 4,543 entries. Ex. C.
This log further confirmed that Takeda had withheld thousands of documents subject to the waiver.
        On August 12, Plaintiffs provided Takeda with examples of inappropriate withholdings. See Ex.
A at 11-15. On August 22, the parties held a meet-and-confer regarding Takeda’s bases for withholding
certain categories of documents. Ex. A at 19-20 (Plaintiffs’ Questions to Takeda). It was clear from the
call that the parties were at an impasse.4 Plaintiffs’ view, based on Second Circuit precedent, is that the
scope of Takeda’s waiver encompasses all documents relevant to its affirmative defense—i.e., all evidence
of Takeda’s “state of mind” with respect to the challenged misconduct, including its actual motives or
intent. Takeda believes it can more narrowly define its waiver, and that the only documents relevant to
its defense (and subject to waiver) are those pertaining to the specific subject matter articulated in its
April 22 letter—namely,

                                                                                                            Ex. A at 1.
                                                       Legal Standard

1 United Food & Commer. Workers Local 1776 v. Takeda Pharm. Co., 11 F.4th 118, 136 (2d Cir. 2021).
2 See Defs.’ Answer to EPP’s Fourth Consol. Compl., ECF No. 279 (Oct. 22, 2019). On August 22, 2022, Takeda’s counsel
confirmed that its defense applies to all alleged misconduct, including the wrongful 1999 and 2002 patent listings.
3 See, e.g., In re Lantus Direct Purchaser Antitrust Litig., 950 F.3d 1, 13 (1st Cir. 2020) (discussing elements of the defense).
4 This conference took place from 3-4 PM. Natasha Fernández-Silber and Matthew Weiner participated for Plaintiffs, and

Patrick Huyett and Melina DiMattio for Defendants. Defendants agreed to motion practice.

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        The scope of a party’s privilege waiver is defined by two related fairness principles. First, under
Federal Rule of Evidence 502, a party that waives privilege as to certain information must disclose all
other information that “concern[s] the same subject matter” and that “ought in fairness be considered
together.” This rule stems from the tenet that “the attorney-client privilege cannot at once be used as a
shield and a sword. A defendant may not use the privilege to prejudice his opponent’s case or to disclose
some selected communications for self-serving purposes.”5 Second, where a party asserts a defense such
as good faith compliance, it puts at issue its “state of mind” with respect to its misconduct, resulting in
an implied waiver as to all evidence thereof.6 The scope of such waiver is broad,7 applying to all
documents relevant to the defense.8 Applying these principles, courts have deemed a wide range of
materials subject to a party’s implied waiver, including documents reflecting a party’s “knowledge of the
law and the basis for . . . [its] understanding of what the law required,” including “conversations with
counsel”;9 legal advice and opinions that a party rejected;10 evidence of motive and intent exposing as
false or pretextual purported good faith justifications;11 and uncommunicated attorney work product.12
                                             Relief Requested
        Takeda purports to waive privilege only as to the
Takeda cannot limit its waiver in this way while asserting a good faith compliance defense. Plaintiffs
request that the Court clarify that the scope of Takeda’s waiver includes all documents relevant to its
affirmative defense.13 This includes otherwise-privileged materials showing Takeda’s patent
descriptions may have been motivated by business concerns (such as generic suppression) or reflecting
Takeda’s ongoing assessment of regulatory mandates. Takeda may not “divulge only those documents .
. . favorable to [its] defense,” while depriving Plaintiffs (and the jury) of meaningful context, and of


5 United States v. Bilzerian, 926 F.2d 1285, 1292 (2d Cir. 1991) (citations omitted).
6 See, e.g., id. at 1292-94 (“privilege may implicitly be waived when defendant asserts a claim that in fairness requires
examination of protected communications”) (citing United States v. Exxon Corp., 94 F.R.D. 246, 249 (D.D.C. 1981)); In re Cty.
of Erie, 546 F.3d 222 at 228-29 (2d Cir. 2008) (“[T]he assertion of a good-faith defense involves an inquiry into state of
mind, which typically calls forth the possibility of implied waiver of the attorney-client privilege.”). Such implied waiver
occurs even where a party does not explicitly claim to rely on privileged documents. Leviton v. Greenberg Traurig, No. 9-
8083, 2010 WL 4983183, at *3 (S.D.N.Y. Dec. 6, 2010) (“[A] party need not explicitly rely upon advice of counsel to
implicate privileged communications. [A]dvice of counsel may be placed in issue where . . . a party’s state of mind, such as
his good faith belief in the lawfulness of his conduct, is relied upon in support of a claim of defense.”).
7 Takeda appears to conflate subject matter waiver with waiver flowing from the assertion of a good faith regulatory

compliance defense in order to argue, incorrectly, that the waiver here is “narrow.” Ex. A at 1. It is not. Plaintiffs are
entitled to all documents concerning Takeda’s defense.
8 See, e.g., Su v. City of New York., No. 06-687, 2007 WL 9719337, at 6* (E.D.N.Y. Sept. 10, 2007) (“Broad waiver allowing

full discovery has been found when a party has raised a defense that places the advice of counsel at issue and then seeks to
testify about that privileged information at trial.”) (citing Bilzerian, 926 F.2d at 1292); U.S. v. Exxon Corp., 94 F.R.D. 246 at
249 (where “waiver is generated by the injection of an entire defense . . . . [it] must pertain to all documents bearing upon
the subject matter of the defense” because “[o]therwise, the party interposing the defense is free to divulge only those
documents that are most favorable to his defense; this is precisely the inequitable result that the waiver doctrine seeks to
avoid”); United States v. Locascio, 357 F. Supp. 2d 536, 552 (E.D.N.Y. 2004) (in determining scope of waiver resulting from
good faith defense, “[the] issue [is] largely one of relevance”).
9 See, e.g., Bilzerian, 926 F.2d at 1292.
10 See, e.g., Scott v. Chipotle Mexican Grill, Inc., 67 F. Supp. 3d 607, 611 (S.D.N.Y. 2014) (“[A]s a matter of fairness, waiver

may apply even if the defendant claims to have ignored the advice of counsel . . . .”).
11 Leviton, 2010 WL 4983183, at *3 (S.D.N.Y. Dec. 6, 2010) (“Because legal advice that a party received may well

demonstrate the falsity of its claim of good faith belief, waiver in these instances arises as a matter of fairness . . . .”); S. Pac.
Commc’ns Co. v. Am. Tel. & Tel. Co., 740 F.2d 980, 1009 (D.C. Cir. 1984) (evidence showing attempt to “rationalize a
decision whose purpose is anticompetitive” relevant to regulatory compliance defense).
12 See, e.g., In re Buspirone Antitrust Litig., 208 F.R.D. 516, 524-25 (S.D.N.Y. 2002) (requiring production of uncommunicated

work product, noting defendant had in-house counsel, was not fully reliant on advice of outside counsel, and that
communications with counsel are rarely in written form).
13 Exxon Corp., 94 F.R.D. at 249 (where “waiver is generated by the injection of an entire defense, [it] must pertain to all

documents bearing upon the subject matter of the defense”).

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evidence capable of rebutting the reasonableness of its alleged beliefs.14 Plaintiffs request that Takeda
produce (without redaction)15 documents subject to its waiver (including the below) by September 23rd.
       1. Patent Analysis. Takeda claims privilege over documents reflecting its analysis of Actos-
related patents, the regulations governing their listing and description, and the consequences of
Takeda’s listings on generic entry (Categories 3, 15, 16, and 29, described in Takeda’s Categorical Logs
(Ex. E)).

                                                                         Such evidence is plainly probative
of Takeda’s defense. Plaintiffs seek production of all documents in Categories 3, 15, 16, and 29.
        2. Sandoz Citizen Petition (“CP”) & Takeda’s 2009/2010 Listing Reaffirmations. In 2009, the
generic company Sandoz submitted a Citizen Petition concerning Takeda’s patent listings, seeking a
ruling from FDA requiring all prospective generics manufacturers to address the ’404 and ’584 patents
with Paragraph IV certifications. FDA granted that petition in 2010, based on Takeda’s wrongful patent
submissions, which Takeda confirmed to FDA via correspondence in 2009 and public comment in 2010.
In 2010, Teva then challenged the accuracy of the listings under 21 CFR 314.53(f), triggering FDA to
request that Takeda confirm or correct its listing information. Takeda represented that its patent
descriptions were correct. Takeda claims privilege over documents concerning the Sandoz CP (Category
35) and Teva’s 21 CFR 314.53(f) challenge (Category 29). These documents are highly likely to reflect
Takeda’s state of mind with the respect to the challenged listings and Takeda’s ongoing strategy for
defending those listings. Takeda has selectively disclosed some of these documents, a misuse of privilege
as both a sword and a shield.16 Plaintiffs seek production of all documents concerning the Sandoz CP,
Teva’s subsequent challenge, and Takeda’s responses, including those in Category 35 and 29.
        3. Patent Litigation. Takeda engaged in patent litigation with prospective generic Actos
manufacturers from 2003 until 2011. Takeda has withheld documents from these litigations (Categories
1, 2, and 4). Because the patent litigations stemmed from and put at issue Takeda’s wrongful listings,
documents from these proceedings are likely to be probative of Takeda’s state of mind with respect to
the alleged restraint. Plaintiffs seek production of all documents from Categories 1, 2, and 4 relevant to
Takeda’s affirmative defense, including those reflecting Takeda’s assessment of (a) which infringement
claims to assert or maintain, or (b) any counterclaim putting at issue the propriety of Takeda’s listings.
        4. Settlement Strategy/Negotiations. Takeda has withheld documents related to the settlement
of the patent litigations (Category 5). Settlement-related documents are likely to reveal Takeda’s views
on the strength of its patents and its motivations for reaffirming its wrongful listings in 2009 and 2010.17
Takeda has disclosed some of these documents, using privilege as both a sword and a shield.18 Plaintiffs
seek all documents concerning settlement strategy and negotiations, including those in Category 5.
        5.                            19 Takeda retained the firm




                       Plaintiffs seek all     documents relevant to Takeda’s affirmative defense,
including those probative of Takeda’s motivations for reaffirming its wrongful listings in 2009 and 2010.

14 See id. at 249.
15 Takeda has heavily redacted numerous documents it produced pursuant to the waiver. See Ex. D
                      This is impermissible under F.R.E. 502, which extends a party’s waiver to all information
“concerning the same subject matter” as disclosed information.
16 Ex. F at 1,


17


18Ex. F at 7, 9,
19Takeda has collected documents from                    but has yet to produce them. Takeda maintains that the
documents Plaintiffs seek will be withheld for privilege, including the retention letter for the representation at issue.

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Dated: August 30, 2022                              Respectfully submitted,


       /s/ Greg T. Arnold                               /s/ Steve D. Shadowen
       Thomas M. Sobol                                  Steve D. Shadowen*
       Gregory T. Arnold                                Matthew C. Weiner
       Rachel Downey                                    Tina Miranda
       Abbye Klamann Ognibene                           Deirdre Mulligan
       HAGENS BERMAN SOBOL                              HILLIARD & SHADOWEN LLP
       SHAPIRO LLP                                      1135 W. 6th St.
       One Faneuil Hall Square                          Suite 125
       Boston, MA 02109                                 Austin, TX 78703
       Tel: (617) 482-3700                              Telephone: (855) 344-3298
       Fax: (617) 482-3003                              steve@hilliardshadowenlaw.com
       tom@hbsslaw.com                                  matt@hilliardshadowenlaw.com
       grega@hbsslaw.com                                tmiranda@hilliardshadowenlaw.com
       racheld@hbsslaw.com                              dmulligan@hilliardshadowenlaw.com
       abbyeo@hbsslaw.com                               *Interim Co-Lead Counsel

       Whitney E. Street                                Jayne A. Goldstein, Esq.*
       HAGENS BERMAN SOBOL                              MILLER SHAH LLP
       SHAPIRO LLP                                      1625 N. Commerce Parkway
       715 Hearst Avenue, Suite 202                     Suite 320
       Berkeley, CA 94710                               Ft. Lauderdale, FL 33326
       Tel: (925) 204-9959                              Direct Dial: 954-903-3170
       whitneyst@hbsslaw.com                            954-515-0123
                                                        jagoldstein@millershah.com
       Counsel for plaintiff Meijer, Inc., Meijer       *Interim Co-Lead Counsel
       Distribution, Inc., and interim co-lead
       counsel for the proposed direct purchaser        Natalie Finkelman Bennett
       class                                            MILLER SHAH LLP
                                                        1845 Walnut St., Suite 806
       Joseph M. Vanek                                  Philadelphia, PA 19103
       John Bjork                                       P: (866) 540-5505
       Ashima Talwar                                    nfinkelman@millershah.com
       Trevor Scheetz
       David P. Germaine                                Laurie Rubinow
       SPERLING & SLATER, P.C.                          MILLER SHAH LLP
       55 W. Monroe, Suite 3500                         875 Third Avenue, Suite 800
       Chicago, IL 60603                                New York, NY 10022
       Telephone: (312) 224-1500                        Telephone: (212) 419-0156
       Facsimile: (312) 224-1510                        lrubinow@millershah.com
       jvanek@sperling-law.com                          Interim Liaison Counsel
       jbjork@sperling-law.com
       atalwar@sperling-law.com                         Kenneth A. Wexler*
       tscheetz@sperling-law.com                        Kara A. Elgersma
       dgermaine@sperling-law.com                       Justin Boley
                                                        Tyler Story
       Natasha J. Fernández-Silber                      WEXLER BOLEY & ELGERSMA LLP

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John D. Radice                                   55 W. Monroe Street, Suite 3300
RADICE LAW FIRM PC                               Chicago, IL 60603
475 Wall St. Princeton, NJ 08540                 Telephone: (312) 346-2222
Tel: (908) 217-7399                              Facsimile: (312) 346-0022
nsilber@radicelawfirm.com                        kaw@wexlerwallace.com
jradice@radicelawfirm.com                        kae@wexlerwallace.com
                                                 jnb@wexlerwallace.com
Counsel for plaintiffs Meijer, Inc. and          tjs@wexlerwallace.com
Meijer Distribution, Inc. and the proposed       * Interim Co-Lead Counsel
direct purchaser class
                                                 Michael M. Buchman*
Linda P. Nussbaum                                Jacob Onile-Ere
Brett Leopold                                    Johnny Shaw
Peter Moran                                      MOTLEY RICE LLC
NUSSBAUM LAW, P.C.                               777 Third Avenue, Fl 27
1211 Avenue of the Americas,                     New York, New York 10017
40th Floor                                       Telephone: (212) 577-0040
New York, NY 10036-8718                          MBuchman@motleyrice.com
(917) 438-9189                                   mclerkin@motleyrice.com
lnussbaum@nussbaumpc.com                         jonileere@motleyrice.com
bleopold@nussbaumpc.com                          jshaw@motleyrice.com
pmoran@nussbaumpc.com                            *Interim Co-Lead Counsel

Counsel for Plaintiff César Castillo, Inc.       Sharon K. Robertson
and the proposed direct purchaser class          Donna M. Evans
                                                 Aaron J. Marks
                                                 COHEN MILSTEIN SELLERS &
                                                 TOLL, PLLC
                                                 88 Pine Street, 14th Floor
                                                 New York, NY 10005
                                                 Telephone: (212) 838-7797
                                                 Facsimile: (212) 838-7745
                                                 srobertson@cohenmilstein.com
                                                 devans@cohenmilstein.com
                                                 amarks@cohenmilstein.com

                                                 Counsel for the proposed end-payor class




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                                    CERTIFICATE OF SERVICE


       I, Thomas M. Sobol, certify that, on this date, the foregoing document was filed electronically

via the Court’s CM/ECF system, which will send notice of the filing to all counsel of record, and parties

may access the filing through the Court’s system.



Dated: August 30, 2022                              /s/ Thomas M. Sobol
                                                    Thomas M. Sobol




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